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8                                   UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                 )      Case No: 1:21-CR-00078 NONE SKO
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    ADRIAN RODRIGUEZ CARDENAS,                )
                                                )
15                    Defendant.                )
                                                )
16
17           The defendant has attested to his financial inability to employ counsel and wishes the

18   Court to appoint counsel to represent him. Therefore, in the interests of justice and according to

19   Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court

20   ORDERS:

21           1.      E. Marshall Hodgkins is APPOINTED to represent the above defendant in this

22   case effective nunc pro tunc to March 24, 2021. This appointment shall remain in effect until

23   further order of this court.

24
     IT IS SO ORDERED.
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         Dated:     March 29, 2021                             /s/ Jennifer L. Thurston
26
                                                       UNITED STATES MAGISTRATE JUDGE
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